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                  EXHIBIT A




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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

CAROLYN CARPENTER                            §
                                             §
                         PLAINTIFF,          §      CIVIL ACTION NO. 3:18-cv-2338
                                             §
        VS.                                  §
                                             §     ON REMOVAL FROM
                                             §     CAUSE NO. DC-18-09810
BOSTON SCIENTIFIC CORPORATION                      DALLAS COUNTY, TEXAS
                                             §
                                             §
                         DEFENDANT.          §

                           INDEX OF ALL DOCUMENTS

        EXHIBIT A:    Index of Documents

        EXHIBIT B:    Dallas County Civil District Court Docket Sheet (8/29/2018)

        EXHIBIT C:    Dallas County Civil District Court Cover Sheet (07/27/2018)

                      Plaintiff’s Original Petition and Jury Demand (07/27/2018)

                      Request for issuance of citation (08/09/2018)

                      Citation issued to Boston Scientific Corporation (08/13/2018)

                      Affidavit of Service on Boston Scientific Corporation (08/15/2018)

        EXHIBIT D:    A signed Certificate of Interested Persons that complies with LR 3.1(c)
                      or 3.2(e)




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